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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :       Case No:
                                              :
               v.                             :
                                              :       VIOLATIONS:
                                              :
CHRISTOPHER JOSEPH QUAGLIN,                   :       18 U.S.C. § 111(b)
                                              :       (Assaulting, Resisting, or Impeding
                                              :       Certain Officers or Employees)
Defendant.                                    :
                                              :       18 U.S.C. § 231(a)(3)
                                              :       (Civil Disorder)
                                              :
                                              :       18 U.S.C. § 1512(c)(2)
                                              :       (Obstruction of an Official Proceeding)

               AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
                           AND ARREST WARRANT

       I, Benjamin Fulp, being first duly sworn, hereby depose and state as follows:

                                  PURPOSE OF AFFIDAVIT

       1.      This Affidavit is submitted in support of a Criminal Complaint charging

Christopher Joseph Quaglin (“QUAGLIN”) with violations of 18 U.S.C. §§ 111(b), 231(a)(3),

and 1512(c)(2).

                                   AGENT BACKGROUND

       1.       I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and have

been so employed since 2018. During that time, I have investigated kidnappings, bank robberies,

fugitive matters, Hobbs Act violations, Felon in Possession violations, and threat-to-life

violations as a part of the FBI Washington Field Office Violent Crimes Task Force. I have

prepared and assisted in the preparation of court orders and search warrant

applications. Additionally, during the course of these and other investigations, I have conducted

or participated in physical and electronic surveillance, assisted in the execution of search and
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arrest warrants, debriefed informants, interviewed witnesses and suspects, and reviewed other

pertinent records. I have received training through the FBI’s Cellular Analysis and Survey Team

(CAST) program to evaluate cellular records for evidentiary value. Through my training,

education, and experience, I have become familiar with the efforts of persons involved in

criminal activity to avoid detection by law enforcement.


       2.      I am one of the investigators assigned to an ongoing investigation by the FBI,

United States Capitol Police (“USCP”), Metropolitan Police Department (“MPD”), and other law

enforcement agencies, of riots and civil disorder that occurred on January 6, 2021, in and around

the United States Capitol grounds. Since I became involved in this investigation on January 6,

2021, I have conducted interviews, reviewed public tips, reviewed publicly available photos and

video, and reviewed relevant documents, among other things.

       3.      The facts in this affidavit come from my review of the evidence, my personal

observations, my training and experience, and information obtained from other law enforcement

officers and witnesses. Except as explicitly set forth below, I have not distinguished in this

affidavit between facts of which I have personal knowledge and facts of which I have hearsay

knowledge. This affidavit is intended to show simply that there is sufficient probable cause for

the requested arrest warrant and does not set forth all of my knowledge about this matter.

                                         BACKGROUND

       4.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, located at First Street Southeast, Washington, District of Columbia.

During the joint session, elected members of the United States House of Representatives and

Senate met in the United States Capitol to certify the vote count of the Electoral College for the

2020 Presidential Election, which took place on November 3, 2020.
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       5.      The United States Capitol is secured 24 hours a day by security barriers and

USCP occupy various posts throughout the grounds. Restrictions around the United States

Capitol include permanent and temporary security barriers and posts manned by USCP. USCP

officers wore uniforms with clearly marked police patches, insignia, badges, and other law

enforcement equipment. Only authorized people with appropriate identification are allowed

access inside the United States Capitol. On January 6, 2021, the exterior plaza of the United

States Capitol was also closed to members of the public.

       6.      The January 6, 2021 joint session began at approximately 1:00 p.m. Shortly

thereafter, by approximately 1:30 p.m., the House and Senate adjourned to separate chambers to

resolve a particular objection. Vice President Michael R. Pence was present and presiding, first

in the joint session, and then in the Senate chamber.

       7.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the United

States Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the United States Capitol building and USCP were present, attempting to keep the

crowd away from the Capitol building and the proceedings underway inside. As the certification

proceedings were underway, the exterior doors and windows of the Capitol were locked or

otherwise secured.

       8.      At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and past officers of the USCP, and the crowd advanced to

the exterior façade of the building. The crowd was not lawfully authorized to enter or remain in

the building and, prior to entering the building, no members of the crowd submitted to security

screenings or weapons checks by the USCP or other authorized security officials.
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        9.     A short time later, at approximately 2:20 p.m., members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

President Pence, were instructed to—and did—evacuate the chambers. As such, all proceedings

of the United States Congress, including the joint session, were effectively suspended until

shortly after 8:00 p.m. the same day. In light of the dangerous circumstances caused by the

unlawful entry to the United States Capitol, including the danger posed by individuals who had

entered the United States Capitol without any security screening or weapons check,

Congressional proceedings could not resume until after every unauthorized occupant had left the

United States Capitol, and the building had been confirmed secured. The proceedings resumed

at approximately 8:00 p.m. after the building had been secured. Vice President Pence remained

in the United States Capitol from the time he was evacuated from the Senate Chamber until the

sessions resumed.

        10.    After the Capitol was breached, USCP requested assistance from MPD and other

law enforcement agencies in the area to protect the Capitol, keep more people from entering the

Capitol, and expel the crowd that was inside the Capitol. Multiple MPD officers and other law

enforcement officers came to assist.

        11.    During national news coverage of the aforementioned events, video footage

which appeared to be captured on mobile devices of persons present on the scene depicted

evidence of violations of local and federal law, including scores of individuals inside the United

States Capitol building without authority to be there.

                STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

       12.      Based on an initial review of publicly available video footage, USCP surveillance

footage, and body worn camera (“BWC”) footage of officers that responded to the Capitol on
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January 6, 2021, an individual wearing a red, white, and blue shirt, a black helmet with a camera

affixed to the front of it, and a gas mask, who has been identified as QUAGLIN, as described

below, can be seen repeatedly assaulting multiple law enforcement officers guarding the Capitol.

        13.    Specifically, around 1:36 p.m., as captured on police BWC footage, numerous

rioters were at the police line around the Capitol, with fences separating the crowd and the

officers. QUAGLIN approaches the police line separated by the fence and starts engaging with

the MPD Officers at the line. Seemingly unprovoked, QUAGLIN shouts the following

statements towards the MPD Officers: “You don’t want this fight. You do not want this fucking

fight. You are on the wrong fucking side. You’re going to bring a fucking pistol, I’m going to

bring a fucking cannon. You wait! You wait! You wait! Stay there like a fucking sheep! This guy

doesn’t know what the fuck is going on.” Several seconds later, QUAGLIN grabs onto the fence

and appears to shake it and push against it while the MPD Officers are on the other side of the

fence. A still from the video is below with a red box around QUAGLIN.




        14.    In addition, as captured on multiple USCP surveillance videos, at an unidentified

time (but before 2:40 p.m. when the Lower West Terrace has been overrun as described below),
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numerous rioters gathered on the grounds below the Lower West Terrace and attempted to

breach the police line.

        15.     In one of the USCP surveillance videos, QUAGLIN can be seen pointing at a

USCP Officer holding the perimeter around the Lower West Terrace. QUAGLIN then shoves

that officer, as captured in the still shot below.




        16.     In a subsequent USCP surveillance footage, QUAGLIN walks through the crowd

and approaches the USCP Officers located at the police line. QUAGLIN then begins to verbally

engage a USCP Officer. QUAGLIN continues to get closer to the USCP Officer while appearing

increasingly agitated and pointing his finger towards USCP Officer. QUAGLIN then proceeds to

hold and push USCP Officer by the neck, which appeared to contribute to USCP Officer starting

to fall. (Note: Due to obstructions in the view of this portion of the event, it is unclear to the

affiant whether USCP Officer completed the fall). A still from this video is shown below with a

red arrow above QUAGLIN.
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       17.    Approximately 1 minute later, as QUAGLIN appears to be yelling at the officers

and shaking a glove at them, another USCP Officer pushes QUAGLIN back. Then, as numerous

rioters are engaged in physical altercations with multiple law enforcement officers, QUAGLIN

appears to physically strike and shove the USCP Officer. Several seconds later and as numerous

law enforcement officers are responding to the various altercations, QUAGLIN appears to

physically push the USCP Officer again, as captured in the still below with a red arrow pointing

to QUAGLIN.




       18.     QUAGLIN then physically pushes another USCP Officer multiple times and also

pushes another USCP Officer. Several seconds later, QUAGLIN physically pushes an MPD

officer and, shortly after, then walks towards another USCP Officer and physically pushes and
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wrestles with that USCP Officer, as captured in the still below with a red arrow above

QUAGLIN.




       19.     In another USCP video, which begins after the events filmed above but before

2:40 p.m., QUAGLIN and other rioters rip one of the barrier fences being used to keep the crowd

out of the Capitol out of the hands of MPD officers, as shown in the still below with a red arrow

pointing to QUAGLIN.
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        20.     Then, around 2:34 p.m., as captured on BWC footage, an unidentified rioter

pushes down a USCP officer. Another officer steps in front of the fallen officer. QUAGLIN can

then be seen lunging forward and pushing that officer down. Multiple officers then drop their

shields as they begin to retreat backwards. QUAGLIN and other unidentified individuals can

then be seen picking up the shields and passing them backwards, as captured in the stills below

with a red box around QUAGLIN.




        21.     As the officers continue to retreat backwards, around 2:36 p.m., QUAGLIN once

again can be seen on BWC footage lunging at an MPD Officer. Other rioters then pull

QUAGLIN back and guard the officers as the officers fall back into a stairwell, as shown in the

stills below with a red box around QUAGLIN.




       22.      By 2:40 p.m. on January 6, 2021, protesters had engulfed the west side of the

United States Capitol and were climbing on the scaffolding in front of building as well as various

features of the building. Although the Capitol Building had already been breached and protesters
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had flooded in through several entrances, a group of MPD officers and members of the USCP or

other agencies had been able to hold their position and deny entry through the very prominent

entrance of the Lower West Terrace. To enter the United States Capitol through the Lower West

Terrace, one must walk through a short tunnel with a series of glass doorways. Around 2:40 p.m.,

a group of officers were maintaining a line at the second set of glass doors inside the tunnel.

Officers reporting to the scene rushed to the tunnel from within the building while protesters

outside of the tunnel continued to summon more men to push their way through the tunnel. A

growing number of protesters made their way into the tunnel with a variety of tools and weapons.

The tunnel became the point of an intense and prolonged clash between protesters and law

enforcement at the United States Capitol. Many of the protesters in the tunnel were recording

video and many of the videos circulated and continue to circulate on Internet channels, social

media, and the news.

        23.     Portions of the rioters’ effort in the tunnel to get through the Lower West Terrace

doors were captured both in video surveillance from USCP camera in the tunnel and in video

footage posted to YouTube (hereinafter, YouTube Video 1). In YouTube Video 1, which was

reviewed by your affiant, a large group of rioters attempted to break through the line of

uniformed law enforcement officers who were in place to prevent rioters from entering the

Lower West Terrace door of the United States Capitol. Law enforcement officers are at the front

of the line attempting to stop numerous rioters from gaining access to the United States Capitol

Building.

        24.     At approximately 3:03 p.m., QUAGLIN can first be seen on USCP surveillance

footage entering the tunnel with the rioters. QUAGLIN can be seen pushing his way to the front

of a large crowd attempting to push past the police guarding the doors. QUAGLIN continues to
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try to push past the law enforcement officers guarding the Lower West Terrace Exterior Doors

for approximately the next 15 minutes during which he can be seen on video attacking officers

with a stolen riot shield and spraying them with a chemical irritant.

          25.    Specifically, as captured both on BWC footage and in YouTube Video 1,

QUAGLIN sprays a chemical irritant at MPD and USCP officers trying to stop the rioters from

entering the Capitol. Specifically, around 3:06 p.m., QUAGLIN is visible at the front line of the

rioters attempting to get past the law enforcement officers guarding the Lower West Terrace

doors, as shown in the still from BWC footage below with a red box around QUAGLIN.




          26.    Around 15:30 in YouTube Video 1, which corresponds to approximately 3:06

p.m. 1, QUAGLIN sprays a chemical irritant at MPD and USCP officers trying to stop the rioters



1
    This time is approximate and based on a review of the EXIF data for the related video and a
comparison to the timestamp for available surveillance video capturing the same events.
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from entering the Capitol. At around 15:46 in YouTube Video 1, which corresponds to

approximately just before 3:07 p.m., QUAGLIN then again sprays a chemical irritant directly

into the face of an MPD Officer, who does not have a face shield or gas mask protecting him.

This is captured in the still below, where (as indicated by the added red square) the orange spray

from the black canister can be seen headed straight for the officer’s face.




       27.     Based on the lettering on the canister, the shape, and the coloring of the canister,

the canister used by QUAGLIN (which is visible in the still shots below from BWC footage)

appears likely to be an MK-9 OC spray sold online.
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       28.     MK-9 OC spray, pictured below, is described in online marketing materials as

follows: when used according to proper guidelines, the product is “intended to cause varying

degrees of pain and injury, which are temporary.” If “used incorrectly, CTS less-lethal products

may cause damage to property, serious bodily injury or death.”

https://www.combinedsystems.com/product/mk-9-level-3-oc-products.




       29.     Around 3:08 p.m., as captured in YouTube Video 1, rioters inside the tunnel use

police riot shields and police riot batons to combat uniformed law enforcement officers. Rioters

can also be overheard planning and implementing a rotation of rioters to have the “fresh” rioters

up front to combat law enforcement, with various unidentified individuals yelling “we need fresh
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patriots in the front” and “we need fresh people.” Rioters are heard instructing the front line of

rioters to make a “shield wall” to prevent law enforcement from controlling rioters with oleoresin

capsicum spray (“O.C. spray”). Multiple rioters then use the stolen shields to push against the

line of officers as additional rioters add their weight and push too. Around 19:30 in YouTube

Video 1, which corresponds to approximately 3:11 p.m., QUAGLIN can be seen with the rioters

at the front of the line pushing up against that same MPD Officer whom QUAGLIN sprayed in

the face and other law enforcement officers with a shield. QUAGLIN then continues pushing as

the entire group of rioters yell “heave ho” and put their collective mass behind him and the

others at the front of the line.

        30.     Another YouTube Video shot within the tunnel around the same time (“YouTube

Video 2”), shows a different angle of that confrontation, where QUAGLIN can be seen using a

stolen shield to push up against law enforcement officers and then hitting that same MPD Officer

in the side of the neck and face, as QUAGLIN and other rioters twist the shield to the side.
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       31.     As other rioters from the front-line leave, QUAGLIN remains near the front line.

For example, he is captured on BWC footage around 3:15 p.m. at the front-line of the rioters and

still holding a shield, as shown in the still below. He remains at the front until approximately

3:18 p.m. -- when he can be seen on USCP surveillance footage being pushed out of the tunnel

with other rioters.




                                    Identification of Quaglin

       32.     Law enforcement received a tip from an anonymous source providing four “Live”

videos recorded from a Facebook account with the vanity name “Chris Trump.” The videos did
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not list the URL of the Facebook account or the official user name. (A Facebook user can

display a vanity name that is different than their official user name and a Facebook user can




change their vanity name without changing the official user name.) Each video was a selfie-style

video showing an individual identified by the anonymous tipster as “Christopher QUAGLIN, NJ.

Extremist.” In one of the Live videos provided by the tipster, QUAGLIN, as shown in the still

below, can be seen walking towards the Capitol in the same outfit that QUAGLIN is seen

wearing in the footage described above and holding a gas mask. QUAGLIN states “Trump is

speaking and everyone is walking there. And I am walking there [showing Capitol building to

camera]. And I am ready [showing gas mask in hand]. We will see how it goes. Proud of your

boy.”

        33.    In another one of the videos, shot after QUAGLIN had returned to his hotel and

changed out of the red, white and blue hoodie, QUAGLIN notes: “When you guys see the

footage, I was the guy in the red, white, and blue uhh hoodie and the black helmet…I’m

absolutely on a loop on Fox News…I got punched pretty good…It was a great time, I got bumps

and bruises.” In that video QUAGLIN appears to be standing in the alleyway immediately

adjacent to the Motto Hotel at 627 H Street NW, Washington, D.C. in the evening hours after the
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riot on January 6, 2021. A distinctive parking sign and a pipe that forms a right angle are visible

in the video frame. Your affiant visited the alleyway and confirmed that the area visible in

QUAGLIN’s video was in fact taken in that alleyway adjacent to the Motto Hotel.

        34.      In another video taken in his hotel room, QUAGLIN appears shirtless with a large

tattoo visible on his chest and on his arm as he narrates while cooking a steak in his shower.

QUAGLIN states, “It’s the first step . . . I’m exhausted, I’ve been pepper sprayed like twenty

fucking times, I’m sure I’m going to make the news.”

        35.      Law enforcement confirmed that QUAGLIN (whose listed address is in New

Jersey) rented six rooms at the Motto Hotel in Washington D.C. between January 5, 2021 and

January 7, 2021 which appears to be the same hotel that can be seen in some of the Live videos

provided by the tipster and the same alleyway as confirmed by your affiant.

        36.      In addition, law enforcement interviewed a witness, Witness 1, who has known

QUAGLIN for years, although Witness 1 had not seen him in person for several years. Witness

1 has followed and corresponded with QUAGLIN on social media for years. Witness 1 saw

QUAGLIN’s Live videos on January 6, 2021 on his account with the vanity name “Chris

Trump.” Witness 1 confirmed that the Live videos described above are some of the same videos

Witness 1 saw on January 6, 2021 and that those videos all show QUAGLIN.                       Witness 1 also

stated that he/she saw a photograph that the FBI had published seeking additional information

from the public and that he recognized that individual as QUAGLIN. (The photograph,

“Photograph 58 AFO” below, was taken from BWC footage described in paragraph 40 above.) 2


2
  Law enforcement also received five tips indicating that Photograph 58 looked like various individuals that are not
QUAGLIN. Thus far, your affiant is not aware of any corroboration for these tips and is not aware of any evidence
linking those individuals to the Capitol on January 6, 2021. One anonymous tip did identify another individual in a
YouTube video at the protests on January 6, 2021 (but not taking part in the siege of the Capitol building) in what
appears to be the same “Make America Great Again” hoodie as the one QUAGLIN is wearing on January 6,
2021. However, that individual has no facial hair, has no gas mask, has no helmet with a video camera attached to
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         37.       Witness 1 noted that QUAGLIN used multiple accounts on Facebook and

Instagram and was frequently been banned for inflammatory posts online. Witness 1 indicated

that QUAGLIN frequently posted on his social media accounts about the 2020 Presidential

election, about going to the Capitol on January 6, 2021, and pictures of firearms. Many of

QUAGLIN’s posts were deleted on January 7, 2021. Witness 1 indicated that QUAGLIN posted

multiple pictures of himself prior to the January 6, 2021 events where he was visible with a beard

and consistent in appearance with the “Photograph 58-AFO.”

         38.       Law enforcement submitted search warrants for multiple social media accounts

identified as belonging to QUAGLIN by Witness 1 or based on a review of subscriber data.

Based on an initial review of the comments, photos, and videos posted to QUAGLIN’s social

media accounts, there are many posts indicating he participated in the storming of the Capitol on

January 6, 2021, as described above. For example:

o The following post on November 5, 2020: “You upset? Think it's off? Voter fraud? Antifa

    says fuck you and they stole the election. You americans aren't welcome here anymore.

    #IMFIGHTINGBACK If you like, share it!!!!! We need people!!!!”




it, is carrying a large flag on a fishing pole, and has a large button pinned to his hoodie that is not visible in any of
the video associated with QUAGLIN.
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o The following messages sent on November 5, 2020 to another person on Facebook: “I'm

   going to war”; “I'm writing my letter to my wife and people will have it. But I might not even

   make it back”; “I'm bringing the big cock”; “I'm taking jin to a knife fight”; “I'm really ready

   to just the kamikaze.”;

o The following messages sent on November 6, 2020 to another person on Facebook: “Its

   over”; “I'm fighting if not”; “Like on the streets in dc. Full body armor.”;

o The following messages sent on November 6, 2020 to another person on Facebook: “Looking

   forward to a war”;

o The following attempted post on November 6, 2020: “Stand back. Stand by. Trump might

   walk away losing the presidential election in 2020 due to fraudulent voting. (I highly doubt

   that, but it might happen). The only way he walks away from the presidency, without being

   taken away in handcuffs and not completely sparking a civil fucking war is as follows:

   VOTER. ID. LAW. has to be passed by all 3 branches, and the house and Senate. It will be a

   unanimous vote. If trump steps down, this must happen. Otherwise, #letshaveawar”;

o The following messages sent on December 13, 2020 to another person on Facebook who

   claimed to be in D.C.: “Good! Fuck u btw. If I would have known u were going I would have

   given u a gas mask and my helmet”;

o The following photo posted on December 13, 2020:
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o The following post on December 17, 2020 “Because I know something you don't know.”

   Accompanied by the following photo:




o The following messages sent on December 20, 2020 to other people on Facebook: “Listen.

   Come to DC. Don't be a bitch”; “U coming to DC on the 6th?”;

o The following post on December 20, 2020 “Guy: you think you're the only one prepared? I

   got a p100 too! Me: that doesn't help against pepper spray dude. A p100 is not a gas mask.”
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o The following photo and message sent on December 22, 2020 to another person on Facebook

   “Thats my basement gun room. I have been planning for this since fucking Bush left office

   and obama came in”




o The following post on December 22, 2020: “Who wants to go to dc? I have an extra double

   twin bed available”

o The following messages sent on December 22, 2020 to another person on Facebook: “Oh, its

   happening. I'm bringing gas masks, body armor, and other things”

o Multiple messages to others on Facebook regarding reserving rooms and rates, such as the

   following message sent on December 30, 2020 to another person on Facebook: “Are u going

   to dc? I got 1 spare bilunk bed room” and then sending this photo
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o The following messages sent on December 22, 2020 to another person on Facebook: “I got 3

   cans of bear spray” “Huge cans”; “And fas masks”; “Gas”;

o The following post on December 24, 2020 with the caption “so bad ass”
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o The following messages sent on December 24, 2020 to another person on Facebook: I'm

   bringing my guns.”

o The following messages sent on December 24, 2020 to another person on Facebook: “Ya, I

   was thinking of that. Ill have bear spray. (The gel stuff that shoots 30 feet) and the big can”

o The following message sent on December 25, 2020 to another person on Facebook: “Ya. I'm

   bringing gas masks” followed by this photo:




o The following messages sent on January 7, 2021 to another person on Facebook: “It was

   wild”; “A guy died in my arms”;

o The following messages sent on January 7, 2021 to another person on Facebook: “I was in

   the middle of it” and attaching a photograph that appears to be taken from the West Terrace

   of the Capitol of the crowd on January 6, 2021;

o A message sent on January 7, 2021 indicating that he had deleted his other account; and

o A message sent on January 8, 2021 claiming “We only pushed our way. I know I didn't hit

   any cops.”
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       39.     Finally, law enforcement submitted a search warrant for the Google accounts

linked to QUAGLIN through his known Facebook accounts. Google location data places the

phone belonging to QUAGLIN in and around Washington, D.C. from January 5-7; specifically, at

the Motto Hotel, at the Washington Monument, and at the United States Capitol. On January 5,

2021, QUAGLIN conducted multiple searches for “Motto by Hilton Washington DC City Center”

and pulled up driving directions for two Chick-fil-A restaurants in Northeast Washington, D.C.

On January 6, 2021 Quaglin conducted multiple Google Maps queries for areas near the National

Mall in Washington, D.C.

       40.     QUAGLIN’s Google account history shows multiple Google searches indicating

his involvement in the storming of the Capitol. For example, on January 8, 2021, it includes

multiple searches for “guy gets bear sprayed at capital.” On January 20, 2021 QUAGLIN’s

Google account history shows visits to a webpage titled, “Countries where you can buy

citizenship, residency, or passport.” QUAGLIN’s Google account history shows eight visits to the

FBI’s “seeking information” for Capitol violence between January 28, 2021 and January 31,

2021. Further, a review of QUAGLIN’s Gmail accounts show multiple purchase notifications

from a Costco credit card in Washington, D.C. -- specifically, multiple charges at the Motto Hotel

on January 5, 2021, multiple charges at a Walgreens convenience store at 801 7th St NW,

Washington, D.C. on January 6, 2021, and $128.80 spent at China Town Liquor in Washington,

D.C. on January 7, 2021 – both businesses that are a short walking distance from the Motto Hotel.

                                         CONCLUSION

        For the reasons set forth above, I submit there is probable cause to believe that

QUAGLIN violated:
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1. 18 U.S.C. § 111(b), which makes it a crime to forcibly assault or interfere, and aid or abet

   such a forcible assault or interference, with any person designated in section 1114 of this

   title 18 while engaged in or on account of the performance of official duties and uses a

   deadly or dangerous weapon (including a weapon intended to cause death or danger but

   that fails to do so by reason of a defective component). Persons designated within section

   1114 include any person assisting an officer or employee of the United States in the

   performance of their official duties.

2. 18 U.S.C. § 231(a)(3), which makes it a crime to commit or attempt to commit any act to

   obstruct, impede, or interfere with any fireman or law enforcement officer lawfully

   engaged in the lawful performance of his official duties incident to and during the

   commission of a civil disorder which in any way or degree obstructs, delays, or adversely

   affects commerce or the movement of any article or commodity in commerce or the

   conduct or performance of any federally protected function. (“Civil disorder” means any

   public disturbance involving acts of violence by assemblages of three or more persons,

   which causes an immediate danger of or results in damage or injury to the property or

   person of any other individual. “Federally protected function” means any function,

   operation, or action carried out, under the laws of the United States, by any department,

   agency, or instrumentality of the United States or by an officer or employee thereof; and

   such term shall specifically include, but not be limited to, the collection and distribution of

   the United States mails. 18 U.S.C. § 232(1).)

3. 18 U.S.C. § 1512(c)(2), which makes it a crime to attempt to corruptly obstruct,

   influence, and impede an official proceeding. An “official proceeding” includes a

   Congressional proceeding. 18 U.S.C. § 1515(1)(B).
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As such, your affiant respectfully requests that the court issue an arrest warrant for QUAGLIN.

The statements above are true and accurate to the best of my knowledge and belief.



                                                            Respectfully Submitted,

                                                            __________________
                                                            Benjamin Fulp
                                                            Special Agent
                                                            Federal Bureau of Investigation




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1

by telephone, this 6th day of April 2021.
                                                                             2021.04.06
                                                                             10:57:54 -04'00'
                                                    ___________________________________
                                                    ZIA M. FARUQUI
                                                    U.S. MAGISTRATE JUDGE
